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 6                                  UNITED STATES DISTRICT COURT
 7                                         DISTRICT OF NEVADA
 8   UNITED STATES OF AMERICA,                           )        2:08-CR-00283-RCJ-RJJ
                                                         )
 9                          Plaintiff,                   )
                    vs.                                  )        ORDER
10                                                       )
     TERRENCE THOMAS,                                    )
11                                                       )
                            Defendant.                   )
12
13          Defendant Terrence Thomas has filed a Motion For Sentence Reduction Pursuant to U.S.C. §
14   3582(c)(2) Under United States Sentencing Guideline Amendment 750, and to Consider all 18 U.S.C.
15   § 3553(A) Factors, and Post Sentencing Conduct (#629) seeking Discretionary Relief pursuant to 18
16   U.S.C. §3582(c)(2). Accordingly,
17          IT IS HEREBY ORDERED that the Federal Public Defender is appointed as counsel to represent
18   the Defendant unless the Federal Public Defender declines the appointment, on the basis of a conflict,
19   no later than five (5) judicial days from the date of this Order.
20          IT IS FURTHER ORDERED that the Clerk of the Court shall distribute a copy of the document
21   filed by the Defendant to the Federal Public Defender, the United States Attorney and the U.S. Probation
22   Office forthwith.
23          IT IS FURTHER ORDERED that the Probation Office shall prepare a Supplemental Presentence
24   Report, which shall address whether the Defendant qualifies for an adjustment of the sentence pursuant
25   to the amended Cocaine Base guidelines, shall provide the Court with a Progress Report from the Bureau
26   fo Prisons, and shall advise the court of the applicable and recommended guideline range. The
27   Supplemental Presentence Report shall be served upon the Federal Public Defender, the United States
28   Attorney and the Court within ten (10) days of the date of this Order.
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 1          IT IS FURTHER ORDERED that within twenty-one (21) days of the entry of this Order the
 2   Federal Public Defender shall: a) file and serve any Supplement to the request for relief or b) file a
 3   Notice with the Court that the parties have agreed to a resolution unless for good cause the time is
 4   extended. If a Notice of Agreed Resolution is filed, the Stipulation of the parties shall be filed along
 5   with the written consent of the Defendant within forty (40) days of the entry of this Order unless for good
 6   cause the time is extended.
 7          IT IS FURTHER ORDERED that if a Supplement is filed by counsel for Defendant, the United
 8   States Attorney shall serve any Response fourteen (14) days after the Supplement is filed unless for good
 9   cause the time is extended.
10          IT IS FURTHER ORDERED that the Federal Public Defender shall serve any Reply within five
11   (5) days of service of the Government’s Response.
12          IT IS FURTHER ORDERED that the parties shall serve the Office of the United States Probation
13   with any pleadings or documents file pursuant to this Order.
14          IT IS SO ORDERED.
15          Dated: This 21st day of February, 2012.
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                                                             ROBERT C. JONES
20                                                           Chief District Judge
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